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                                                                                  RECEIVED
                                                                                   U.S.DISTRICTCOURT
                                                                               EASTERN  DISTRICT ARKANSAS
                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS           MAY O9 2019
                                 LITTLE ROCK DIVISION        -:~ES W.SRMACK, CLERK
LINDSEY HUFF AND CHRIS HUFF                                                           PLAINTIFFS       DEP CLERK



V.                             NO.


ALLSTATE PROPERTY AND CASUALTY
INSURANCE COMPANY                                                                   DEFENDANT


                                     NOTICE OF REMOVAL

       COMES NOW the Defendant, Allstate Property and Casualty Insurance Company, by

and through its attorneys, Barber Law Firm PLLC, and makes this Notice of Removal, stating:

       1.       That, on or about April 5, 2019, an action was commenced in the Circuit Court of

Pulaski County, Arkansas, styled Lindsey Huff and Chris Huff v. Allstate Property and Casualty

Insurance Company, and was assigned docket number 60CV-19-2287; that, in compliance with

28 U.S.C. § 1446(a), true and correct copies of all known process and pleadings filed with the

Circuit Court Clerk are attached hereto and marked collectively as Exhibit "A";

       2.       That the above-described action is a civil action, which may be removed to this

Court by Defendant pursuant to the provisions of 28 U.S.C. §§ 1441 and 1446, in that it is a civil

action wherein the amount in controversy exceeds the sum of$ 75,000.00, exclusive of interest

and costs, and is between citizens and entities of different states. 28 U.S.C. §1332(a);

       3.       That, for the foregoing reasons, this action is one in which this Court would have

original jurisdiction pursuant to 28 U.S.C. §1332;

       4.       That Defendant's Notice of Removal is being timely filed within thirty (30) days

of actual service of the Summons and Complaint;
                                                         This case assigned to District Judge   _w_~_l_so_f\..__
                                                         and to Magistrate Judge _~_A_rr_i-"-~-----
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       5.      That Plaintiffs, Lindsey Huff and Chris Huff, are residents of Vilonia, Faulkner

County, Arkansas, for diversity purposes;

       6.      That Defendant, Allstate Property and Casualty Insurance Company, is a foreign

corporation organized under the laws of the State of Illinois and with its principal place of

business in Northbrook, Illinois;

       7.      That, in light of the above, complete diversity exists in this cause;

       8.      That, in compliance with 28 U.S.C. § 1446(d), notice of this removal has been

given to the Circuit Court of Pulaski County, Arkansas, as well as to Plaintiff, by the filing and

service of a Notice of Removal, a copy of which is attached hereto as Exhibit "B";

       9.      That this action, previously pending in the Circuit Court of Pulaski County,

Arkansas, has been removed therefrom to this Court.

                                              Respectfully submitted,

                                              BARBER LAW FIRM PLLC
                                              425 West Capitol Avenue, Suite 3400
                                              Little Rock, Arkansas 72201-3483
                                              501-372-6175
                                              Email: ccunningham@barberlawfirm.com
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                            Verification by J. Cotten Cunningham

       I hereby state under oath that the statements set forth in the foregoing Petition are true
and correct to the best of my knowledge, information and belief.

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STATE OF ARKANSAS                            )
                                             )ss.             VERIFICATION
coUNTY oF      =:Bua SIL,                    )

        SUBSCRIBED AND SWORN to before me, the undersigned Notary Public, on this, the
8th day of May, 2019.




                                             NOTARY PUBLIC          0
                                             My Commission Expires: LU.+,~,.w.-4                            IK 1 ;J::U 3
                                                                       SUSAN MINOR
                                                                        PULASKI COUNTY
                                                                  NOTARY PUBLIC - ARKANSAS
                                                              Mr c:ammisaion Expires Auguat 18, 21123
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this, the 8th day of May, 2019, a copy of the above and foregoing
pleading has been electronically filed with the Clerk of the Court using the CM/ECF system,
which shall send notification of such filing to the following:

andy@taylorlawfirm.com
Andrew M. Taylor, Esq.
tasha@taylorlawfirm.com
Tasha C. Taylor, Esq.
12921 Cantrell Road, Suite 205
Little Rock, Arkansas 72223


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